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Zeynep Graves

From:                          Nevin Young <nevinyounglaw@gmail.com>
Sent:                          Tuesday, June 8, 2021 12:44 PM
To:                            Abelson, Adam
Cc:                            Zeynep Graves; Hasbun, Marcos E.; James Erselius; Caitlin Hawks
Subject:                       Re: Collins v. Tri-State - Depositions

Follow Up Flag:                Follow up
Flag Status:                   Flagged



Dear Counsel,

I am not going to be available for a deposition on June 14 for Mr. Candy. Since we have extended the discovery
schedule, and plan on doing the deposition for Ms. Candy-Simmons the week of June 24, I would suggest that
week for both depositions, since I will likely travel to Cumberland to meet with Mr. Candy prior. I have called
Dr. Gold but have not heard back from him. I will ask Mr. Candy to contact him as well. I still have no new
contact information for Mr. Carden.

Very Truly Yours,

Nevin L. Young
410-353-9210

On Tue, Jun 1, 2021 at 9:53 PM Abelson, Adam <AAbelson@zuckerman.com> wrote:
 EXTERNAL

 Nevin,



 Ms. Collins is available to be deposed on June 22 at 12pm. She will plan to join the Zoom deposition
 from her house in Marlton, NJ.



 Also, PETA would like to take the following depositions:

            1.     Tri-State Zoological Park of Western Maryland, Inc. and Animal Park, Care & Rescue,
            Inc. Please let us know if Mr. Candy is available to be deposed as the corporate designee
            on June 14th. If so, could we start at 11 AM ET? A formal notice and list of topics will
            follow.

            2.     Dr. G. Duncan – We can be available to depose Dr. Duncan June 15, 16, or 17. Please
            let us know which of those days is best for Dr. Duncan.



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                 3.    Dr. K. Gold – We propose to depose Dr. Gold on June 18, 19, or 20, or the 16th-17th
                 other than on the day of Dr. Duncan’s deposition. Please let us know when we should
                 schedule this deposition (or if we should reach out to Dr. Gold directly).

                 4.    John Carden – Please provide an updated address for Mr. Carden as soon as
                 possible. We propose to note this deposition for June 21, but once we have updated
                 contact information we will reach out to confirm his availability.

                 5.        Jessica Candy – We can be available to depose Ms. Candy on June 24 or 25.



Adam




                                       Adam Abelson
                                       Zuckerman Spaeder LLP
                                       AAbelson@zuckerman.com




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From: Nevin Young <nevinyounglaw@gmail.com>
Sent: Friday, May 28, 2021 9:09 AM
To: Zeynep Graves <ZeynepG@petaf.org>
Cc: Abelson, Adam <AAbelson@zuckerman.com>; Hasbun, Marcos E. <mhasbun@zuckerman.com>; James
Erselius <jamese@petaf.org>; Caitlin Hawks <CaitlinH@petaf.org>
Subject: Re: Collins v. Tri-State - Space Farms



EXTERNAL

Dear Counsel,




                                                                                  2
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I notice that you have not at this point requested to take any depositions. Do you intend to take the depositions
of any fact witnesses? The Defendants wish to take the deposition of Constance Collins sometime between
June 15 and June 25. Please let me know where she will be located for that deposition and we will attempt to
make appropriate arrangements for a video conference deposition. I expect that the deposition will last
approximately two hours but could be longer depending upon her answers.



Very Truly Yours,



Nevin L. Young

410-353-9210



On Thu, May 27, 2021 at 5:09 PM Zeynep Graves <ZeynepG@petaf.org> wrote:

 Nevin,



 As outlined in our May 13, 2021 letter, PETA requested Defendants correct all discovery deficiencies by May
 26, 2021. On May 23, 2021, PETA again reminded Defendants that if the balance of their discovery
 deficiencies were not corrected by May 26, then we would be seeking relief from the Court. Since that
 deadline has passed, and to ensure PETA is in compliance with the 30-day deadline set forth in Local Rule
 104.8(a), PETA will be filling a letter with the Court later today.



 Of course, we expect all Defendants’ discovery deficiencies to be corrected ASAP, and will modify our
 forthcoming letter to reflect your promise below.



 Thank you,



 Zeynep Graves

 Litigation Manager

 PETA Foundation

 2154 W. Sunset Blvd.

 Los Angeles, CA 90026

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From: Nevin Young <nevinyounglaw@gmail.com>
Sent: Thursday, May 27, 2021 1:15 PM
To: Zeynep Graves <ZeynepG@petaf.org>
Cc: Abelson, Adam <AAbelson@zuckerman.com>; Hasbun, Marcos E. <mhasbun@zuckerman.com>; James
Erselius <jamese@petaf.org>; Caitlin Hawks <CaitlinH@petaf.org>
Subject: Re: Collins v. Tri-State - Space Farms



Dear Counsel,



I just wanted to let you know that I am following up with Mr. Candy on supplemental answers and
objections to your exceptions to the original interrogatory answers, and expect to have a formal response to
you by the end of the day tomorrow.



Very Truly Yours,



Nevin L. Young

410-353-9210



On Wed, May 26, 2021 at 12:57 PM Zeynep Graves <ZeynepG@petaf.org> wrote:

 Nevin,




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If Defendants are going to refuse to make the zoo available on a weekend, the first weekday that three of
Plaintiffs’ experts and counsel are available is Monday, July 19, 2021. One of Plaintiffs’ experts, Dr.
Haddad, has a demanding hospital schedule this season, and we’re doing our best to accommodate
everyone’s professional obligations. If we have to wait until July to conduct the site inspection, then we will
have to request that the parties push back Rule 26(a)(2) disclosure deadlines by two weeks to allow sufficient
time for reports to be completed following the inspection.



Please let us know if July 19th works for Defendants and if they agree to push expert disclosure deadlines by
two weeks. If Defendants are not agreeable to this proposal then we will have to file a letter with the court,
which we hope won’t be necessary.



Thank you,



Zeynep Graves

Litigation Manager

PETA Foundation

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   F: (213) 484-1648



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From: Nevin Young <nevinyounglaw@gmail.com>
Sent: Tuesday, May 25, 2021 6:29 AM
To: Zeynep Graves <ZeynepG@petaf.org>
Cc: Abelson, Adam <AAbelson@zuckerman.com>; Hasbun, Marcos E. <mhasbun@zuckerman.com>;
James Erselius <jamese@petaf.org>; Caitlin Hawks <CaitlinH@petaf.org>
Subject: Re: Collins v. Tri-State - Space Farms
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There is generally a much higher visitor level on weekends, which Mr. Candy believes would be distracting.
I also have already made personal plans for the weekend of June 13. If your expert has so many work related
activities that he (I assume you mean Jay Pratte) cannot be available any weekday for a month, it seems that
he is probably not trying hard enough to be flexible in his schedule.



On Mon, May 24, 2021 at 9:30 PM Zeynep Graves <ZeynepG@petaf.org> wrote:

Nevin,



One of Plaintiffs’ experts has work-related conflicts every weekday in June and, therefore, cannot travel to
Cumberland. Would you explain why we cannot conduct the site inspection on a weekend?



Thank you,



Zeynep Graves

Litigation Manager

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From: Nevin Young <nevinyounglaw@gmail.com>
Sent: Monday, May 24, 2021 4:33 PM
To: Zeynep Graves <ZeynepG@petaf.org>
Cc: Abelson, Adam <AAbelson@zuckerman.com>; Hasbun, Marcos E. <mhasbun@zuckerman.com>;
James Erselius <jamese@petaf.org>; Caitlin Hawks <CaitlinH@petaf.org>
Subject: Re: Collins v. Tri-State - Space Farms



Just to follow up on the site visit, please let us know if June 9, 10, 16, or 17 are available for you and what
date you prefer.



Very Truly Yours,



Nevin L. Young

410-353-9210



On Mon, May 24, 2021 at 12:49 PM Zeynep Graves <ZeynepG@petaf.org> wrote:

 Nevin,



 Please see the attached documents from Space Farms. We added the Bates numbers for reference.



 Thank you,



 Zeynep Graves

 Litigation Manager

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